Case 1:03-cr-10041-.]DT Document 72 Filed 08/18/05 Page 1 of 6 PagelD 58

\5 l

uNlTED sTATEs DisTRlcT couR'r 0 O@y

wEsTERN olsTRlcT oF TENNEssEE 5406, "
EAsTERN olvlsloN /@ \

UNiTED STATES OF AMER|CA

-v- 03-10041-01-T

 

RONN|E D. DEAN
M. Dianne Smothers, FPD
Defense Attorney
200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

JUDGMENT PURSUANT TO RE-SENTENC|NG
(For Offenses Committed On or After November 1, 1987)

The defendant Was found guilty on Count 1 of the indictment on September 24, 2003.
Accordingly, the court has adjudicated that the defendant is guilty of the following

 

offense(s):
Date Offense Count
Titie & Section N_UMH€_“S_€ Conc|uded Number(s)
18 USC §922(9) Convicted Feion in Possession of 11115/2002 1

Firearms Shipped and
Transported in interstate
Commerce

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the i\/landatory
Victims Restitution Act of 1996.

lT iS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 05/03/1957 August 16, 2005
Deft’s U.S. il/larshal No.: 19050-076

Defendant’s lVlailing Address:
202 S. Tenth Street
Obion, TN 38240

ODM»W.!_M

JA|V|E . ODD
CH|E N|TED STATES DlSTR|CT JUDGE

This document entered on the dockets eat in conépilance August`£' 2005
Wirh nme 55 and/or 32(b) FRch on - "

19

Case 1:03-cr-10041-.]DT Document 72 Filed 08/18/05 Page 2 of 6 PagelD 59

Case No: 1:030r10041-01~T Defendant Name: Ronnie D. Dean Page 2 of 5
lMPRiSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 78 Months.

The Couri recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States i\riarshal.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant deiivered on to
at , With a certified copy of this
judgment.
UN|TED STATES lVlARSHAL
By:

 

Deputy U.S. i\/larshal

Case 1:03-cr-10041-.]DT Document 72 Filed 08/18/05 Page 3 of 6 PagelD 60

Case No: 1:03cr10041-O1-T Defendant Name: Ronnie D. Dean Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised releasel the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. the defendant shall not leave the judicial district without the permission of the court or probation officer;

2. the defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. the defendant shall answer truthful all inquiries by the probation ofncer and follow the instructions of the
probation ofhoer;

4. the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. the defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. the defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. the defendant shall not frequent places where controlled substances are illegally so|d, used, d istributed,
or administered;

Case 1:03-cr-10041-.]DT Document 72 Filed 08/18/05 Page 4 of 6 PagelD 61

Case No: 1:03cr10041-01-T Defendant Name: Ronnie D. Dean Page 4 of 5

8. the defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement officer;

11. the defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. as directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation ocher to make such notifications and to confirm the defendant’s compliance with such
notincation requirement

13. if thisjudgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate in a program of testing and treatment for drug and alcohol
abuse, as directed by the probation officer, until such time as the defendant is released from
the program by the probation ocher.

2. The defendant shall cooperate with the United States Probation Office in the collection of
DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythefoliowing total criminal monetary penalties in accordance
With the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ail of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution

$100.00

Case 1:03-cr-10041-.]DT Document 72 Filed 08/18/05 Page 5 of 6 PagelD 62

Case No: 1:03cr10041-01-T Defendant Name: Ronnie D. Dean Page 5 of 5

The Speciai Assessment shall be due immediatelyl
F|NE
No fine imposedl
REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 1:03-CR-10041 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highiand Ave.

Ste. B-S

Jackson7 TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highiand Ave.

Ste. B-S

Jackson7 TN 38301

.1 ames W. PoWeil

U.S. ATTORNEY'S OFFICE
109 S. Highiand Ave.

Ste. 300

Jackson7 TN 38301

.1 ames W. PoWeil

U.S. ATTORNEY'S OFFICE
109 S. Highiand Ave.

Ste. 300

Jackson7 TN 38301

Honorable .1 ames Todd
US DISTRICT COURT

